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earnings announcements. 16,810 of these earnings announcements had an accession number
indicating that FA1 or FA2 handled the SEC filing related to that announcement, representing
approximately 44 percent of all filings in the period. 2 Mr. Klyushin traded in 356 of these 38,359
events, but 343 of his trades (or 96 percent of them) surrounded earnings events serviced by either
FA1 or FA2 (per the accession number associated with the filing). Mr. Clarke’s analysis shows
this was extremely unlikely to occur by chance. He would opine based on a Fisher Exact test run
on Mr. Klyushin’s trading in this universe of earnings events that the probability that Mr. Klyushin
would trade by chance almost exclusively in FA1 and FA2-serviced companies is at most 1 in a
trillion, somewhat akin to flipping a coin 356 times and having the coin come up heads on 343 of
the flips. The analysis for the other seven traders is similar.

       Earnings Surprises

        As previously described, Mr. Clarke is expected to testify that he compared the above
investors’ pre-announcement choice of trading direction (long vs. short, buy vs. sell) against the
direction of “unexpected earnings outcomes”. You requested further definition of the term
“unexpected earnings outcomes”, specifically the threshold amount by which an issuer’s
announcement of its financial performance (as measured by earnings per share) would have to
differ from market analysts’ published predictions (as reported in the Institutional Brokers
Estimate System) about those earnings per share. Mr. Clarke examined all of the traders’ trades
in FA1 and FA2 earnings events, identified the announcements associated with them as either
positive or negative earnings surprises or “no surprise”, and then analyzed only the top three
quartiles of positive or negative earnings surprises, based on the assumption that the most modest
earnings surprises (those in the bottom quartile closest to analysts’ published expectations) would
have less predictable effects on the issuer’s share price. As previously disclosed, Mr. Clarke used
a Fisher Exact Test to conclude that chance could not explain the frequency with which the above
traders consistently predicted the most significant unexpected earnings outcomes in their pre-
announcement choice of trading direction, which occurred, for example, approximately 86 percent
of the time in Mr. Klyushin’s trades. Here, the likelihood that chance would lead to a situation
where Mr. Klyushin’s trading would correctly predict the most significant unexpected earnings
outcomes was again less than 1 in a trillion.

       Mr. Clarke’s underlying data, which we are sharing with you, includes the Institutional
Broker Estimate System data (i.e., the analysts’ predictions and actual outcomes, the
announcement dates, and the announcement times) for all eight traders’ trades.




       2
         Mr. Clarke did not use an FA1 or FA2 “client list” to determine market share because the
accession number is the most precise identifier of which filing agent, if any, was involved in a
particular earnings announcement. An announcing company’s presence on an FA1 client list, for
example, would not indicate whether the company used the filing agent for a particular
announcement or not.

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         FA2 Downloads and Trading in FA2-Serviced Events

         We previously disclosed that:

         Mr. Clarke is also expected to testify that he analyzed the timing of the
         above investors’ first trades in certain issuers before an earnings event, as it
         related to the timing of downloads of the same issuers’ financial information
         from FA 2 Specifically, he identified the above traders’ first transactions
         in certain ticker symbols where FA 2 logs revealed that those issuer’s
         financial information had been downloaded before the earnings
         announcement. Mr. Clarke is expected to testify, based on a non-parametric
         permutation test, that there is a statistical relationship between the time of
         the download and the investors’ first trade; that in nearly all cases, the
         download preceded the investors’ first trade; and that that relationship
         cannot be explained by chance.

          You requested the time period for which Mr. Clarke analyzed whether there was a
  correlation between the eight traders’ trading and downloads from FA2’s network, which was
  February 4, 2018 to September 30, 2020—all dates within the alleged existence of the conspiracy.

           You also requested a recitation of the “statistical significance of [Mr. Clarke’s] findings”.
  Because the eight traders made 494 trades in FA2-serviced earnings events, and 491 of those trades
  took place after information had been downloaded from FA2 but before the public earnings
  announcement, Mr. Clarke would opine that the observed relationship between the timing of their
  first trades in FA 2 -serviced earnings events and the timing of the first download of information
  from FA 2 related those events would happen by chance (i.e., uncorrelated to the fact and timing
  of a download from FA2) less than 1 time in a million. Mr. Clarke would testify that the accepted
  standard for “statistical significance” is typically measured at 95 percent or 99 percent, which is
  either a 1-in-20 or 1-in-100 chance, and that he can therefore state with an extremely high level of
  confidence that the timing of the download and the timing of the eight traders’ trades are correlated.

         I approve this disclosure pursuant to Fed. R. Crim. P. 16(a)(1)(G)(v).

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                   Maxwell
Clarke, Maxwell    Date: 2022.12.21 15:01:09
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       We are happy to discuss the exchange of summary exhibits on a mutually agreeable
schedule.

      Please contact us if you have any questions.

                                                     Very truly yours,

                                                     RACHAEL S. ROLLINS
                                                     United States Attorney


                                           By:       /s/ Seth B. Kosto__________
                                                     SETH B. KOSTO
                                                     STEPHEN E. FRANK
                                                     Assistant U.S. Attorneys

Enclosures by USAFx




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